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                                             UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF COLUMBIA


                IN DEFENSE OF ANIMALS                            }
                                                                 )
                   Plaintiff,                                    )
                                                                 )
                                                                 )
                                                                 )
                THE UNITED STATES DEPARTMENT                     )
                 OF AGRICULTURE.                                 )
                                                                 )    No..O2-0SS7(RWR)
                       Defendant,                                )
                                                                 )
                        and                                      }
                                                                 )
                LIFE SCIENCES RESEARCH, INC.,                    )
                                                                 )
                   InterveDor~DefeDdaDt.                         )
                                                                 }


                                       SECOND DECLARATION            OF HUGH GILMORE

                1, Hugh Gilmore, hereby declare:

                        1.       I am a Program Specialist/lnforrnation Analyst with the Freedom of Information
                                 Act (FOlA) staff in the Legislative and Public Affairs Division (LP A) of the
                                 Animal and Plant Health Inspection Service (APffiS) of thc United States
                                 DepartnJentof Agriculture (USDA). I have been a PrOgrdInSpecialist at APHIS
                                 since August 2000.

                       2.        Prior to coming to APffiS. I worked on the FOIA staff at a bureau of the
                                 Dcpartment of Treasury since 1988. I am also a member of the Massachusetts
                                 Bar.

                                DESCRIPTION OF THE SEARCH FOR RESPONSIVE RECORDS

                        3.       When the APillS FOIA office in Riverdale, Maryland reccived illA's November
                                 20, 2000 FOIA request a FOIA staff member sent a copy of the request, as well as
                                 a cover sheet with insttuctions to search for responsive records. to MillS's
                                 Animal Care and Investigations and Enforcement SeIVices (IES) progIa!11areas.
                                 In addition to IES and An;m~l Care, the Office of General Counsel, USDA, also
                                 conducted a searchfor responsive records.




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                   4.     When lES received the JDA FOIA request from the APInS Riverdale office it
                          COIi1m.enced
                                     a searchfor the records.

                          When a request is received by IES it is logged into the FOIA system and assigned
                          a FOrA requestnumber.

                   6.     After the request is logged in, IES FOIA personnel conduct a prior history search
                          in the IES databaseusing the Program Code and the name of facility involved ill
                          ilie investigation. In the caseof the IDA request, the Program Code "Animal
                          Care" would have beenused, becauseAnimal Care was the USDA program area
                          that requestedIES to conduct the Huntingdon investigation.

                    7.    The ProgTamCode and the name of the facility must be entered to produce any
                          material. By inputting this infonnation, the individual searching the databascwill
                          obtain a report that contains:

                                 1) The Program code,
                                 2) The date of any violations by the facility.
                                 3) The name of the Investigator investigating the facility,
                                 4) The name of the facility/violator,
                                 S) The address of the facility/violator,
                                 6) The codes violated,
                                 7) Any events that take place in the investigation, such as when an
                                 hlvcsrigator requests information from another state.

                          Also, the individual searchingthe databasewill obtainany documentsrelatedto
                          the forgoing.

                    8.    The IES databasewould not yield results for the terms PETA, A W A Violation, or
                          videotape becausethe databaseis indexed by the name of the regulated facility.
                          The IES Databasedoes not allow for a generalword search.

                          In addition to searchingthe database,lES FOIA personnel review the
                          headquarters' files and send a request for records to the regional office that would
                          be involved in an investigation of a particular facility-For the IDA request,the
                          Eastern Regional Office located in Armapolis, Marylan~ at the time of the search.
                          would have received such a requestbecausethis office oversaw the Huntingdon
                          Life Sciences c'ms") laboratory in New Jersey.




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10.   In addition to searchingthe rES database,headquarters' files, and"regionaloffice
      files. the Regional Office would contact the Investigator that was assignedto
      investigate a particular facility.

11.   After the regional office searchesits files "andreceives any records from the
      Investigator, it forwards the materials to IES FOIA personnel- In turn, IES FOIA
      personnel, collect all of the documents forwarded by the Regional Office, any
      documents found in the IES database,and any documents found in Headquarters
      files to APlllS FOIA personnel in the APffiS Riverdale office.

Animal C~e

12.   When Animal Care received the illA FOIA request from the APillS Riverdale
      office it commenced a search for the records.

13.   When a requestis received by Animal Care it is logged into the FOlA system and
      assigneda FOIA requestnumber. The FOIA log contains the name of the
      requester and the date that the request was received-

14.   Animal Care FOL"- personnel conduct a searchof the files at Animal Care
      Headquarters. For this searchFOlA personnel check both staff files and the
      Animal Care Administration Office for documents. The staff files would contain
      letters received from Congressrequesting that a facility be investigated, whereas
      AdmiDistration Office files would contain any correspondence'\Viththe regulated
      facilities. Staff files are gen~rally indexed by the name of the facility.

15.   In addition to seaxchingHeadquarters;gflles~ Animal Care FOrA personnel send
      the FOIA requestto the Regional Office.

16.   The RegionalOffice;

             A)     Conducts a searchon the Licensing and Registration Inforttlation
                    System (LARIS) by using the subject's name (in this case.
                    Huntingdon) or registration number (in this case.22-R-O40).

             B)     Searchesthe official files arranged by state and registIation
                    number.

             C)     If the licensee or registrant is not active, the Regional Office would

                    i. Searchthe terminated files, which are arranged by state and
                    certificate number
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                          ll. Searchthe applicant.file, which are ammged by state and
                          alphabetically by the applicants name.                    .


                          ill. Searchthe generalstatefile- which is arrangedby stateand
                          date.

      11.   After the regional office searchesits files and receives any records from the
            Investigator, it forwards the materials to the Animal Care FOIA personnel. In
            turn, Animal Care FOIA personnel, collect all of the documents forwarded by the
            Regional Office, any documents found in the staff.files, and any documents found
            in the Adminis1ration Office files to APlnS FOIA personnel in the APInS
            Riverdale office.

      QOC

      18.   OGC personnel would not have any documentsadditional records because35
            days after a caseis closed (which in this instance would have been 35 days after
            the consentdecree was signed), OGC returns the casefile to rES.

      19.   However, in an abundanceof caution, DOC staff who worked with the lEg staff
            on the HLS investigation searchedtheir individual files, division files, and
            electronic files.

      20.   DGC did not find any records relating to the investigation of or consent decree
            with ~S.

            DOC would not have received the videotape plaintiff seeksbecausethe attorneys
            in OGC only receive the materials that JES has found to have probative value.
            BecauseAPffiS detennined that the PETA videotape would not be used in the
            investigation, it would not have been sentto OGC as evidence to justify a
            complaint again m.s.

      Arms FOIA Office

      22.   In addition to the searchesconducted by lES. Animal Care, and OGC, I carried
            out an extensive search for the videotape referred to in the PETA complaint and
            other records responsive to illA' s FOIA request.

            On May 14,2002, I contacted Frank Keyser, IES Invcstigator, who was the
            secondary Investigator for the m..S investigation. Mr. Keyser conducted a search
            ofms records. After this search,Mr. Keyser infonned me that he did not havc any
            documents relating to the HLS investigation. including the PETA videotape-

      24.   Mr -Keyser stated that Rondall Carter was the primary Investigator for the m,S
            investigation and that Mr. Carter was no longer a USDA employee. At the time of




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                the Huntingdon investigation the primary Investigator was the APillS employee
                in charge of maintaining the documentsrelated to the investigation (See
                Declaration of Frank Keyser).

         25.     I conta.ctedthe IES EasternRegional Office. John Kinsella, IES Eastern Regional
                 Director, told me that if the Eastern Regional Office bad the PETA videotape at
                 one time it would have been turned over to IES Headquarters in Riverdale.
                 Maryland. Headquartersis in charge of the retention and disposal of records
                 rclating to a case which has beenclosed.

         26-     I contacted Alan Christian, Director IES Headquarters,and requested information
                 about the videotape. Mr. Christian referred me to .TeresaLorenzano, IES
                 Assistant Director.

         27.     Ms. Lorenzano stated that the videotape could have.been purged under Records
                 Retention Schedule PIV 11-1, Humane Treatment, which covers "[r]eports of
                 alleged violations from the field, which upon review at headquartersand/or DOC,
                 disclose insufficient or no evidence of a violation. " Teresa stated that under this
                 authority the PETA videotape could have beenpurged '"1 year after [a] caseis
                 closed," for the originating office and "upon notification from headquartersthat
                 [a] case is closed," for all other offices. According to the IES Tracking System
                 the casewas closed on April 8, 1998, when the consent decreewas signed.

       Pursuantto 28 V.S.C. 1746, I declare under the penalty of perjury that the foregoing is
true and correct to the best of my knowledge.
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                                               Program Specialist/fuformatiop.Analyst
                                               Freedom of Information Act Staff
                                               Legislative and Public Affairs Division
                                               Animal and PlantHealthInspectionService
